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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA MAY 17 2019

 

Clerk, U.S. District & Bankruptcy

Courts for the District of i
IN RE REQUEST TO MAKE PUBLIC LIST eosin of Columbia

OF INVESTIGATIVE MATTERS OO

RELATED TO SPECIAL COUNSEL’S

INVESTIGATION 4 9-mc-000 58-B AH |

 

 

ORDER

Having received a request, via letter, dated May 16, 2019, from Cable News Network,
Inc. (“CNN”) and its journalist Katelyn Polantz to unseal certain matters arising from Special
Counsel Robert S. Mueller, III’s investigation into Russian interference in the 2016 presidential
election, it is hereby

ORDERED that the Clerk of Court shall docket the CNN/Polantz Letter and assign it a
Miscellaneous case number; and it is further

ORDERED that the caption of the Miscellaneous case assigned to the CNN/Polantz Letter
shall be “IN RE REQUEST TO MAKE PUBLIC LIST OF INVESTIGATIVE MATTERS
RELATED TO SPECIAL COUNSEL’S INVESTIGATION”; and it is further.

ORDERED that this case shall be assigned to the Chief Judge pursuant to LCrR 57.6
(“Any news organization ... who seeks ... relief relating to a criminal investigative or grand jury
matter, shall file an application for such relief with the Court... . An application that pertains to a
... grand jury matter to which no judge has been assigned shall be referred by the Clerk to the

Chief Judge for determination.”); and it is further
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ORDERED that no sealing of this matter is necessary to prevent disclosure of matters
occurring before the grand jury.
SO ORDERED.

Date: May 17, 2019

 

Chief Judge
